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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                               STIPULATION OF DISMISSAL

       The parties hereby give notice that, with Petitioner’s consent, the U.S. Department of

Defense released Petitioner in Bahrain on October 28, 2018. Accordingly, it is hereby stipulated

and agreed, by and between the parties, that this action shall be dismissed with prejudice, each

party to bear their own costs and fees.

November 7, 2018                                   Respectfully submitted,

                                                   /s/ Jonathan Hafetz
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